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                 Exhibit 1
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buy-instagram-follower.com              phanmeminstagram.com
buyinstagramfollowers.biz               scheduleinstagrampostsfree.com
buyinstagramlikes.io                    secured-lnstagram.com
captionforfacebook.com                  sexywhatsapp.adult
coolwhatsappstatus.com                  tehfaceb00k.com
faccebook.xyz                           uninstagrammable.com
facebookables.com                       uzfacebook.com
facebookaduniversity.com                whatsappgb.download
facebookartist.com                      whatsappme.info
facebookfilms.com                       whatsappnumbersza.com
facebookipodayclosingprice.com          whatsappp.net
facebookmessengerspy.com                whatsappsex.club
fecbook.xyz                             whatsdog-whatsapp.com
freefacebookspy.com                     whatsmobileapp.com
freeinstagramfollowers.website          whatspp.net
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instagramstopmodel.com
instagramviral.com
instagrom.org
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instqagram.com
instwgram.com
phanmemfacebook.info
